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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

UNITED STATES OF AMERICA

Plaintiff,
Vs. CASE #: 8:21-cr-00313-CEH-AAS-1
BLADIMIR MORENO,

Defendant,

/
NOTICE OF APPEARANCE

COMES NOW, undersigned counsel, on behalf of the Defendant, BLADIMIR
MORENO, and files his Notice of Appearance as counsel of record. The Clerk of the Court and
all parties of record are hereby notified that I appear for the Defendant indicated in the entitled
action. Undersigned counsel requests that all notices, documents, pleadings, forms, motions, and
all other matters pertaining to this case be sent to the physical and email address set forth below.

Respectfully submitted,

s/_ Anthony Suare

Anthony Suarez, Esq.

Attorney for Defendant

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CERTIFICATE OF SERVICE
I HEREBY CERTIFY on October 15, 2021, I electronically filed the foregoing with the
Clerk of Court by using the CM/ECF system which will then send notice of electronic filing to

all counsel of record.

/s/ Anthony Suarez
Anthony Suarez, Esq.
